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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE:(916) 649-2006
 4 FAX: (916) 920-7951
   E MAIL: jaygreiner@midtown.net
 5
     ATTORNEY FOR DEFENDANT
 6   KOUTKEO THI
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                        EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,             )        CR.-S-08-389-GEB
11                                         )
         PLAINTIFF,                                 )    STIPULATION AND PROPOSED
12   ORDER
                                 )                  TO CONTINUE JUDGMENT AND
13         v.                    )                  SENTENCING TO
                                 )                  SEPTEMBER 16, 2011
14 KEOUDONE N. PHAOUTHOUM, )
   et al.,                       )
15                               )
           DEFENDANTS.           )
16 _______________________________)
17
           Plaintiff United States of America, by its counsel, Assistant United States
18
     Attorney, Mr. Michael M. Beckwith, and defendant Koutkeo Thi, by her attorney Mr.
19
     James R. Greiner, hereby stipulate and agree that the presently set Judgment and
20
     Sentencing date, calendared for Friday, August 26, 2011, at 9:00 a.m. before the
21
     Honorable United States District Court Judge, Garland E. Burrell, Jr., may be vacated
22
     and the new Judgment and Sentencing date maybe set for Friday, September 16,
23
     2011, at 9:00 a.m.
24
           The Court’s courtroom deputy, Ms. Shani Furstenau, has been contacted to
25
     ensure the Court’s calendar was available for that date and the Court is available on
26
     Friday, September 16, 2011. The defendant agrees and stipulates to a waiver of
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28                                              1
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 1   time for her Judgment and Sentencing to Friday, September 16, 2011.
 2
 3                                 Respectfully submitted,
 4                                 BENJAMIN B. WAGNER
                                   UNITED STATES ATTORNEY
 5
                                   /s/ Michael M. Beckwith by e mail authorization
 6
     DATED: 8-23-11                _____________________________________
 7                                 Michael M. Beckwith
                                   ASSISTANT UNITED STATES ATTORNEY
 8
 9   DATED: 8-23-11                /s/ James R. Greiner
                                   _______________________________________
10                                 James R. Greiner
                                   Attorney for Defendant Koutkeo Thi
11
12                                        ORDER
13
           FOR GOOD CAUSE SHOWN,
14
15
           The Judgment and Sentencing date scheduled for Friday, August 23, 2011, is
16
     vacated and the new Judgment and Sentencing date is Friday, September 16, 2011.
17
18
19   Dated: August 25, 2011

20
21                                      GARLAND E. BURRELL, JR.
22                                      United States District Judge

23
24
25
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28                                           2
